Case 1:19-mc-00144-APM Document 4 Filed 08/26/19 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

COX COMMUNICATIONS, INC., ef al.,
Movants, Case No. )9 -MISC 99\&%
Vv. Underlying Litigation:
Sony Music Entertainment, et. al. v. Cox
THE RECORDING INDUSTRY Communications, Inc., et al., Case No. 18-cv-
ASSOCIATION OF AMERICA, 00950-LO-JFA (E.D. Va.)
Respondent. a

 

5 ORDER

UPON CONSIDERATION of Movants Cox Communications, Inc.’s and CoxCom, LLC’s
(“Cox”) Motion to Seal pursuant to Local Civil Rule 5.1(h), which seeks an order allowing Cox to
maintain under seal six exhibits to the Declaration of Diana H. Leiden (“Leiden Declaration”)
(Exs. F-L), which have been designated by the plaintiffs in the above-referenced underlying
litigation as either “Confidential” or “Highly Confidential — Attorneys’ Eyes Only” under the
Protective Order in that case, and to file a partially-redacted version of the Memorandum of Law
in Support of Motion to Compel to the extent it quotes from or otherwise discloses the contents of
Exhibits G-L to the Leiden Declaration, it is hereby

ORDERED that the motion is GRANTED, and these materials shall remain under seal in
their entirety until further order of the Court.

ENTERED this 28" day of August, 2019,

District of Columbia

 
Case 1:19-mc-00144-APM Document 4 Filed 08/26/19 Page 2 of 2

COUNSEL TO BE NOTIFIED OF ORDER

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